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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARIO TRICOCI HAIR SALONS &
DAY SPAS, LLC d/b/a Tricoci Salon and
Spa, an Illinois Corporation,

                  Plaintiff,                     Case No. 1:20-cv-07196

       v.                                        Hon. Matthew F. Kennelly

CLAUDIA POCCIA and MOLLY                         Mag. Gabriel A. Fuentes
SLOAT.

                  Defendants.



                   DEFENDANT CLAUDIA POCCIA’S MOTION TO
                 FILE A BRIEF IN EXCESS OF 15 PAGES, INSTANTER

       Defendant Claudia Poccia (“Defendant” or “Ms. Poccia”), by and through her undersigned

counsel, hereby moves this Court for leave to file her Memorandum in Support of Her Opposition

to Plaintiff’s Amended Motion for Preliminary Injunction in excess of 15 pages. In support of this

Motion, Ms. Poccia states as follows:

  1. Local Rule 7.1 and this Court’s Standing Orders specify that briefs are limited to 15 pages,

      unless prior approval is sought from the Court.

  2. Ms. Poccia respectfully seeks the Court’s approval to file her forthcoming opposition

      memorandum in response to Plaintiff’s Amended Motion for Preliminary Injunction with a

      page limitation up to and including 25 pages.

  3. Plaintiff’s Amended Memorandum of Law in Support of its Amended Motion for

      Preliminary Injunction is 25 pages in length. Dkt. No. 59.




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  4. Defendant has made every effort to adhere to the 15-page limit, but 10 additional pages are

      necessary for a full response.

  5. Ms. Poccia submits this request in good faith and not for purposes of unnecessary or

      extraneous discussion of the relevant issues.

  6. Ms. Poccia further prays that the Court grant her Motion instanter in light of the responsive

      pleading deadline of June 1, 2021.

       Defendant Claudia Poccia therefore respectfully requests that this Court grant her Motion

to File a Brief in Excess of 15 Pages, instanter.


Dated: May 27, 2021                           Respectfully Submitted,

                                              CLAUDIA POCCIA

                                              /s/ Colton Long

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                                   CERTIFICATE OF SERVICE

         Colton Long, an attorney hereby certifies that on May 27, 2021, he served a copy of the

foregoing Defendant Claudia Poccia’s Motion to File a Brief in Excess of 15 Pages, Instanter

to the following via email to:

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